Case No. 1:22-cv-01640-CNS-MDB Document 14 filed 12/28/22 USDC Colorado pg1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

DENVER DIVISION FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

DEC 28 2022

JEFFREY FP. COLWELL

DANIEL P. RICHARDS CLERK

a resident of the State of Washington
Civil Action No.

Plaintiff/Pro Se

Vv. 1:22-cv-01640-CNS-MDB

LOCKHEED MARTIN CORPORATION
D/B/A LOCKHEED MARTIN SPACE,

a corporation headquartered in and organized
under the laws of the State of Maryland

Defendant

Nowe Nee Nee Nome Nee Nee” See Nee” eee eee nee ee ee ee’ ee ee” ee”

PLAINTIFF DANIEL RICHARD’S MOTION
TO REQUEST ISSUANCE OF SUMMONS

Comes now the Plaintiff, Daniel P. Richards, Pro Se, and requests the Clerk of the Court to
issue a summons, form attached, so that the Plaintiff can serve the Defendant in this case.

Dated: December 27, 2022

/s/ Daniel P. Richards
Daniel P. Richards
Plaintiff / Pro Se
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